Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 1 of 65

Fill in this information to identify your case:

 

PILE

ZUIS0CT-8 PH 3:12

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

Case number (if known) Chapter you are filing under:

 
 

Chapter 7 sa
ifo mm Tt
OQ) Chapter 11 a CLE F THE
C) Chapter 12 PSHARUETCY C ey,
t he aU tel i ty he
C] Chapter 13 Pees ah C-CHee HfTAis is an

po _ j amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors, For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

ca Identify Yourself

1. Your full name

12/17

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your

 

 

 

government-issued picture SARAH
identification (for example, First name First name
your driver's license or ANN

passport). Middle name Middle name
Bring your picture RICHARDSON

identification to your meeting Last name Last name

with the trustee.

Suffix (Sr., Jr., I, Il)

Suffix (Sr., Jr., 1, ID

 

 

 

 

 

 

 

2. All other names you SARAH
have used in the last 8 Firstname Fist nanie
years ANN
Include your married or Middle name Middle name
maiden names. BOSHAR |
Last name Last name |
SARAH
First name First name
ANN
Middle name Middle name
GOODWIN
Last name Last name
|
3. Only the last 4 digits of
your Social Security xxx — xx-_ 2° 8 8 9 XXX PO a a
number or federal OR oR
Individual Taxpayer
Identification number 9 xx — xx -_ 9xx - x -_

(ITIN)

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 2 of 65

Debtor 4 SARAH A. RICHARDSON

Faet Name Middle Name

Last Name

Case number ( known),

 

'
i

!

4. Any business names
and Employer
identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

6. Where you live

About Debtor 1: -

i I have not used any business names or EINs.

About Debtor 2 (Spouse Only ina Joint Case): |

CI | have not used any business names or EINs.

 

Business name

Business name

 

EIN

Business name

128 ISLAND POND ROAD

Business name

EIN

If Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street

DERRY NH 03038
City State ZIP Code City State ZIP Code |
ROCKINGHAM COUNTY
County County

if your mailing address is different from the one

 

 

If Debtor 2’s mailing address is different from

 

 

 

 

 

above, fill it in here. Note that the court will send yours, fill it in here. Note that the court will send
any notices to you at this mailing address. any netices to this mailing address.
Number Street Number Street
P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
'
6. Why you are choosing Check one: Check one:

this district to file for

Zi Over the last 180 days before filing this petition, |

 

 

 

 

CQ) Over the last 180 days before filing this petition, |

 

 

 

 

ESR

 

bankruptcy have lived in this district longer than in any other have lived in this district longer than in any other
district. district.
(J | have another reason. Explain, U] I have another reason. Explain. |
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.) |
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Debtor 4

First Name

SARAH A. RICHARDSON

Middle Name

Page 3 of 65

Case number (7 known),
Last Name

Tell the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

C) Chapter 13

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7
©) Chapter 11
C) Chapter 12

() | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with

a pre-printed address.

LJ | need to pay the fee in installments. If you choose this option, sign and attach the Application
for Individuals to Pay The Filing Fee in installments (Official Form 103A).

J | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is

less

than 150% of the official poverty line that applies to your family size and you are unable to

pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

Wi No
LI Yes.

No
QQ Yes.

4 No.
C) Yes.

 

 

 

 

 

 

 

District When Case number
MM/ ODIYYYY
District When Case number
MM / DD/YYYY
District When Case number
MM/ DD/YYYY
Oebtor Relationship to you
District When Case number, if known.
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known,
MM /DD/YYYY
Go to line 12,

Has your landlord obtained an eviction judgment against you?

UL) No. Go to tine 12.

CJ Yes. Fill out initial Statement About an Eviction Judgment Against You (Farm 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Fiting for Bankruptcy page 3
 

 

 

 

 

 

 

 

 

 

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 4 of 65
Debtor 1 SARAH A. RICHARDSON Case number (1 known)
First Name Middle Name Last Name .
Report About Any Businesses You Own as a Sole Proprictor
12. Are youasole proprietor (2 No. Goto Part 4.
of any full- or part-time
business? (] Yes. Name and location of business
A sole proprietorship is a
business you operate as an - -
individual, and is not a Name of business, if any
separate legal entity such as
2 corporation, partnership, or Number Sweat
If yau have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition. City State ZIP Code
Check the appropriate box to describe your business:
C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))
Q Commodity Broker (as defined in 11 U.S.C. § 101(6))
C) None of the above
, 13, Are you filing under If you are filing under Chapter 17, the court must know whether you are a small business debtor so that it
Chapter 11 of the oan set-appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor? a No. | am not filing under Chapter 11.
For a definition of smal!
business debtor, see CJ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.
(J Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.
rice Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention
14. Do you own orhave any = {ZNo

property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

C2 Yes. What is the hazard??

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property??

 

 

 

Number Street
City State ZIP Code
Voluntary Petition for Individuats Filing for Bankruptcy page 4
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Debtor 1 SARAH A. RICHARDSON

First Name Middie Name

Last Name

Case number (it known),

ies Explain Your Efforts to Receive a Briefing About Credit Counseling

 

16. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

Wi treceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Altach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

OC) | received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, but 1 do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after ! made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the caurt is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(3 | am not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental

deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. |My physica! disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2. (Spouse Only ina Joint Case):

You must check one:

() I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Q) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition, ©
you MUST file a copy of the certificate and payment |
plan, if any.

Oh certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unabte to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

{f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 16
days.

(J | am not required to receive a briefing about
credit counseling because of:

CQ) Incapacity. | have a mental illness or a mental |
deficiency that makes me :
incapable of realizing or making
rational decisions about finances.

Q) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you befieve you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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SARAH A. RICHARDSON

First Name Middle Name Last Name

Debtor 1 Case number (it known),

ao Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

( No. Go to line 16b.
( Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LI No. Go to line 16c.
(] Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

() No. 1am not filing under Chapter 7.

2 Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

excluded and W No
administrative expenses
are paid that funds will be Cl Yes
available for distribution
to unsecured creditors?
1s. How many creditorsdo (4 1-49
you estimate that you 50-99
owe? Q 100-199
enna C) 200-999 sum cea pcs enap wrt numer a emwereeeen
19. How much do you VA $0-$50,000

estimate your assets to
be worth?

(] $50,001-$100,000
(J $100,001-$500,000
©) $500,001-$1 million

 

"20. How much do you"
estimate your liabilities
to be?

Sign Below

C) $0-$50,000
$50,001-$100,000
LL] $100,001-$500,000
CJ $500,001-$1 million

 

 

 

Official Form 101

 

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

lf | have chosen to file under Chapter 7, ! am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of
title 11, United States Code. | understand the relief available under each chapter 7, and | choose to proceed under
Chapter 7.

If no attorney represents me and I did not pay or agree ta pay someone who is not an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

{ understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
.C. §§ 152, 1341, 1519, and 3571.

   
   

 

Nature of Debtor 1

ee a a i o "

ETA tae AOU ade MEALS

Signature of Debtor 2

Executed on

MM / DD

LYYYY

     

Voluntary Petition for Individuals Filing for Bankruptcy
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 7 of 65

Debtor t SARAH A. RICHARDSON

Case number (it known),

 

 

 

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

OQ No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

L] No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
2 No

UC] Yes. Name of Person .
Attach Bankrupicy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and-|.am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

Sl of Debtor 1 ~~ Signature of Debtor 2

 

 

 

 

Date 9 Date
MM/DD AYYYY MM/ DD /YYYY
Contact phone 5036824839 Contact phone
Cell phone 6036824939 Cell phone
Email address SAVEDBYFAITHBS@GMAIL.COM Email address

 

 

Mitac ot pone eM ED ge Soy Mato ho erie t@e et re me ap citer e, Sas gibi ge aR ee ee
UIST at FIA da SS as oy PEERS x wee ES SUES SELES SSRN TSW

     

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

Debtor 1 SARAH A. RICHARDSON

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

 

Case number
(If known)

 

 

 

Official Form 107

Q) Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankrupicy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?
C) Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
QC) No
4 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2:
lived there

() same as Debtor 1

Dates Debtor 2
lived there

(J same as Debtor 1

From

 

 

To

 

 

 

 

State ZIP Code
C) same as Debtor 1

From

 

 

To

 

 

 

 

125 KING STREET From 2018
Number Street To 2019. Number Street
APT G2
BOSCAWEN NH _03303-21'
City State ZIP Code City

L) same as Debtor 1
9 ROY ROAD From 2016
Number Street - 0 3 a Number Street
HOOKSETT NH 03106
City State ZIP Code City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

J No

CL) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Beas exricin the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 9 of 65

Debtor 1 SARAH A. RICHARDSON

First Name Middle Name Last Name

Case number (if known)

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

LJ No
Wi Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
From January 4 of current year until 4 Wages, commissions, 4417.4 Q Wages, commissions,
. . bonuses, tips Go I, bonuses, tips
the date you filed for bankruptcy:
Q) Operating a business | Operating a business
For last calendar year: A Wages, commissions, L) wages, commissions,
, bonuses, tips $ 23621 bonuses, tips $
(January 1 to December 31, 2018 8 )Q Operating a business CD operating a business
ery’
For the calendar year before that: wi Wages, commissions, Q) Wages, commissions,
201 ~ bonuses, tips $ 18091 bonuses, tips $
(January 1 to December 31, ) (J Operatinga business =~ _ LL) operating a business

YvYY

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

QO) No
i Yes. Fill in the details.

 

 

 

 

 

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)
,, JASON CAMPBELL _ :
From January 1 of current year until $___-2360.19
the date you filed for bankruptcy: S
$
For last calendar year: 5 S
(January 1 to December 31, 2018 ) 5 $
YYYY
$ $
For the calendar year before that: $ $
(January 1 to December 31, 2017 ) S $
YYYY TT
$ $

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Debtor 1

SARAH A. RICHARDSON

 

First Name

Middle Name

Last Name

Case number ( known),

List Certain Payments You Made Before You Filed for Bankruptcy

Page 10 of 65

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

(2 No. Neither Bebtor 1 nor Debtor 2 has primarily consumer debts. Consumer cebts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily tor a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

U) No. Go to line 7.

CJ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not inctude payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

4 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

A] No. Go to line 7.

C2 Yes. List below each creditor to whom you paid a lola! of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and

Official Form 107

alimany. Also, do not include payments to an attorney for this bankruptcy case.

Creditors Name

Dates of
payment

 

Number Street

 

 

City State

ZIP Code

 

Creditors Name

 

Number Steet

 

 

City State

Z|P Code

 

Greditor’s Name

 

Number Street

 

 

Cily State

ZIP Code

Total amount paid

Amount you still owe

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

at Mortgage

L) car

C) cregit card

(CY Loan repayment

QO Suppliers or vendors
Q) otner

Q Mortgage

QO) car

C3 credit card

() Loan repayment

QO Suppliers or vendors
CQ) other

Q Mongage

O) car

LL) Credit card

(2) Loan repayment

my Suppilers or vendors
C) other
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 11 of 65

Debtor 4 SARAH A. RICHARDSON

Case number (it knowre)
Fitst Name Middle Name Last Name

 

: 7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Qi No

Uf Yes. List all payments to an insider. - /
Dates of Total-amount Amount you still Reason for this payment
payment | paid. owe i . o

ANDREW LASSER 3 3433 ¢

Insider's Name

P.O. BOX 138
Number Street RENT ASSISTANCE

i

 

 

 

 

WENTWORTH NH _03282-0° |

City State ZIP Code

 

tnsider's Name

 

Number Street

 

 

City State ZIP Code

8, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
’ an insider?

Include payments on debts guaranteed or cosigned by an insider.

W No

CL) Yes. List all payments that benefited an insider.

 

 

 

 

 

Dates of Total:amount Amount you still. Reason for this payment
payment patd owe Include creditorsmame .
$ $
tnsider’s Name
| |
Number Street !
|
i i
City State ZIP Code ‘
$ $

 

 

Insider's Name

 

 

Number Street

 

 

City ; _.. State ZIP Cade

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 12 of 65

Debtor 1 SARAH A. RICHARDSON

Case number (it known),
First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custedy modifications,
and contract disputes.

Wi No

CJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

” Nature of the case , 2 ~ Court oragency Le, a "Statue of the case
Case title Coun Name C) Pending
Q) On appeal
:Number Street QO Concluded
: Case number :
: City State ZIP Code
| a we Lecce nine tneenennel :
Casetile, ‘Court Name QO Pending
: 2) on appeal
! ‘Number Street (2 concluded
Case number
City State ZIP Code

i

Nee ene et eee me Ret a ene ene el

10, Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

MW No. Gotoline 11.
( Yes. Fill in the information below.

“Describe the property . Date Value of the property

 

Creditor’s Name i

 

Number Street Explain what happened
Q Property was repossessed.

(} Property was foreclosed.
OQ Property was gamished.

 

 

 

 

 

 

 

 

City State ZIP Gode C) Property was attached, seized, or levied. _
" Deseribe the property: = Bate Value of the property
$
Creditors Name
Number Street a ee
smber Explain what happened
© Property was repossessed.
(C) Property was foreclosed.
wi ished.
City State ZIP Code O Property was gamished .
() Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 5
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 13 of 65

Debtor 1 SARAH A. RICHARDSON Case number (it known),

 

Firat Name Middte Name Last Neme

’ 441. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

YW No

C2 Yes. Fill in the details.

 

 

 

 

 

 

Describe the action the creditor took / Date action Amount
ee ; >. Was taken :
Crediter’s Name om aan a
4
! i $
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
QC) Yes

List Certain Gifts and Contributions

13, Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
‘ ws No

{2 Yes. Fill in the detalls for each gift.

 

 

 

 

 

Gifts with a total value of more than $800 Describe the gifts of “Dates you gave Value
per person ‘ : : the gifts
: }
r $
Person to Whom You Gave the Gift |
; ‘
‘ t $
Number Street
City State ZIP Code
Person's relationship to you i
hoo a mae me _ a ee ee ed
Gifts with a total value of more than $600 Describe the gifts oo —_ : Dates you gave Vatue
per person . ooo, oe, oo  e ., the gifts
5
Person te Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statemont of Financial Affairs for Individuals Filing for Bankruptcy page 6
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 14 of 65

Debtor 1 SARAH A. RICHARDSON Case number (i known),

First Neme Middle Name Last Name

 

+4,Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wf No

(J: Yes: Fillin-the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600. Lot : : contributed

 

 

 

 

 

$
Charity's Name :
: $
Number Steet : i
! |
City State ZIP Code |

List Certain Losses

 

 

_ 15, Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
: disaster, or gambling?

Wf No

(J Yes. Fill in the details.

Describe the property you lost and Describe any Insurance coverage for the toss Date of your Value of property
how the loss occurred . an , loss lost

Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

List Certain Payments or Transfers

| 16. Within 4 year before you filed for bankruptcy, did you or anyone else-acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

4 No

QC) Yes. Fill in the details.

 

 

 

} Description and vatue of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid canteens ne sf pega awutulet gba yg beeen ee -. , made
Number Street : $
i | $
|
'

 

City State ZIP Code

 

Email or websiie address

 

 

Person Who Made the Payment, it Not You

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 
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Debtor 1 SARAH A. RICHARDSON Case number (if known)

First Namo. Middte Name Last Name

 

 

 

 

 

: Date payment or . Amount of-
transfer was made payment

Deseription and value of any property transferred oS

 

Person Who Was Paid

 

Number Street

 

 

Thy State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

bee wees ~~ nn i

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No

Q) Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred ; Date payment or Amount of payment
: a transfer was : :

prone econ neem mada .
Person Who Was Pald t i

’ : $
Number  Streat ' : TT

$

City Site DPGode ee oo i

 

 

, 18, Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
No
CJ Yes. Fill in the details.

Description and value of property Describe any property.or payments received Date transfer
transferred or debts paid in exchange was made

 

Persan Who Received Transter |

 

Number Street

 

 

City State ZIP Cade

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Debtor 1 SARAH A. RICHARDSON Case number (1 known,

First Neme Middle Name Last Name

49, Within 10 years before you fited for bankruptcy, did you transfer any property to a self-settted trust or similar device of which you

are a beneficiary? (These are often called asset-protection devices.)

W@ No

CI} Yes. Fill in the details.

-. Description and value of the property transferred ‘ rae eae Date transfer
ae 0 os . ee was made

{ 1
| |
\
Name of trust :

 

 

cia List Certain Financlal Accounts, Instrumonts, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held In your name, or for your benefit,

closed, sold, moved, or transferred?
i Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

i No

! © Yes. Fill in the details.

 

Last 4 digits of account number Type. of account or Date account was... .Last balance before
, eo os” Ingtrument closed, sold, movad,: closing or transfer
or transferred : :
. Name of Financial institution Tr
: XXXXe_ CJ checking _ $
i , 3 Savings

 

Number Street
Q Money market

 

 

 

 

QO Brokerage
Se ARCO a Ae Other
XXXX-_ Oi checking $
Name of Financial Institution -
OQ Savings
Number Street CJ money market

Q Brokerage
C other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other vafuables?
W No
: () Yes. Fill in the details.

 

 

 

 

 

 

 

Who efse had access to it? ; Describe the contents
i
|
Name of Financial Institution Name
i Number  Streat Number Street
q
: City State ZIP Code

City State ZIP Code

Official Form 107 Statemont of Financial Affairs for Individuals Filing for Bankruptcy

Do you still
have it?

/ QI No
| Yes

page 9
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Debtor 1 SARAH A. RICHARDSON Case number it known)

Fast Name Middle Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Q Yes. Fill in the details.

 

 

; Who else has or had access to it? Describe the contents Do you still
: have it?
No
Name of Storage Facility Name : O Yes
|
Number Street Number Street \ ;

i

 

Clty State ZIP Code

 

 

City . State ZIP Code

identify Property You Hold or Contral for Someone Else

23, Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
wi No
) Yes. Fill in the details.
Where is the property? a . Describe the property : vo Malue

 

Owner's Name a)

 

ib Street
Number Street

 

 

 

 

City State ZIP Code

 

State ZIP Code

Give Dataliis About Environmental Information

 

 

For the purpose of Part 10, the following definitions apply:

‘ @ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or matertal.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize It or used to own, operate, or utitize it, including disposal sites.

& Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term,

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

- 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

C2 Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
I _ - ot
Number Strect Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 18 of 65

Debtor 1 SARAH A. RICHARDSON Case number (if known),

First Name Middle Neme Last Name

 

: 28,Have you notified any governmental unit of any release of hazardous material?
Wf No

C) Yes. Fill in the details.

 

 

 

 

 

Governmental unit - Environmental law, if you know it- Date of notice .
i i

\

Name of site Governmental unit !

t

Number Street Number Street

! i
| 2
i City State ZIP Code i
:

Clty State ZIP Code

, 26,Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Wd No

C) Yes. Fill in the details.

 

 

 

 

 

Court or agency. Nature of the case ‘Status of the
. : . case
Case title QO .
Court Name Pending
CQ) on appeal
i Number Strect QO Concluded
Case number City State 2IP Cote

Give Detalis About Your Business or Connections to Any Business

 

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connactions to any business?
C] Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(] A member of a limited liability company (LLC) or limited liability partnership (LLP)

: C2 A partner in a partnership

(2 An officer, director, or managing executive of a corporation

(2 An owner of at least 5% of the voting or equity securities of a corporation

wf No. None of the above applies. Go to Part 12.
) Yes. Check all that apply above and fill in the details below for each business. ‘
Describe the nature of the business Employer Identification number

Do not include Social Security number or ITIN..-

 

 

Business Name

m
=
'

 

 

 

Number = Street . : petite spteaaenes in nc eg te ite eee ne
Name of accountant or bookkesper ; Dates business existed:
: : From To...
City State ZIP Code . _. wee a
Describe the nature of the business : Employer identification number

ee J "Do not include Secial Security number or ITIN. |
Business Name :

 

 

 

 

Number Street , : Uae eee ”
Name of accountant or bookkeeper , Dates business existed
' From ___sd*iT9

 

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 SARAH A. RICHARDSON Case number {it known),

Firet Name Middle Name Last Name

 

 

    

e nature ofthe business

 

Business Name

 

Number Street Name of accountant or bookkeeper. ~ 3.0) Dates business-existed

 

From To

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi No

L] Yes. Fill in the details below.

~Datelssued

 

Name MMSDD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand.that making 4 fatse statement, concealing property, or obtaining money or property by fraud.
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

ghature of Debtor 4 Signature of Debtor 2
Date G Date
Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
No
Yes

Did you pay or agree to pay someone who is not an attomey to help you fill out bankruptcy forms?

td No

{2 Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptcy page 12
Case: 19-11403-BAH Doc #:1 Filed: 10/08/19 Desc: Main Document Page 20 of 65
Re: SARAH A. RICHARDSON

Overflow - Statement of Financial Affairs

Question 2:

“Street1 “72 FALCON CREST WAY
‘Cily = MANCHESTER
‘Zipcode = 08106

' Started At =»: 2015-11-20

EndedAt 2016-12-01

Overflow - Statement of Financial Affairs Page 1 of 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Page 21 of 65

Fill in this information to identify your case and this filing:

 

pebtor? ~~ SARAH A. RICHARDSON

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name
United States Bankruptcy Court for the:

Case number

DISTRICT OF NEW HAMPSHIRE

Last Name

 

() Check if this is an

 

 

Official Form 106A/B

 

Schedule A/B: Property

amended filing

12/15

 

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

vi No. Go to Part 2.
C) Yes. Where is the property?

1.1.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

If you own or have more than one, list here:

1.2.
Street address, if available, or other description

 

 

 

City State ZIP Code

 

County

Official Form 106A/B

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

LI single-family home

L) Duplex or multi-unit building
LY Condominium or cooperative
() Manufactured or mobile home

Current value ofthe Current value of the
entire property? portion you own?

 

Q) Land $ $
CJ Investment property
C) Timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

Q) Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
(J Debtor 4 only

C} Debtor 2 only

LJ Debtor 1 and Debtor 2 only

QJ At least one of the debtors and another

 

(J Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

What is the property? Check all that apply.
Q Single-family home
QQ Duplex or multi-unit building

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

CJ Condominium or cooperative Current value of the Current value of the

() Manufactured or mobile home entire property? portion you own?

Q) Land $ $

C) Investment property

C) Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by

CQ) Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
QC] Debtor 1 only

C) Debtor 2 only

C} Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

 

CI Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 22 of 65

 

 

 

Debtor 1 SARAH A. RICHARDSON Case number (i known),
Fost Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims er exemptions. Put
UO Sing! ily hom the amount of any secured claims on Schedule D:
1.3. ingle-family e Creditors Who Have Claims Secured by Property.

Street address, if available, or other description Q Duplex or multi-unit building

U Condominium or cooperative Current value ofthe Current value of the

 

 

 

ti i ?
CJ Manufactured or mobile home entire property? Portion you own
Q) Land $ $
CD investment property i
City State ZipCode (J Timeshare Describe the nature of your ownership
QO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.
Q] Debtor 1 only

 

 

 

County () Debtor 2 only
2 Debtor 4 and Debtor 2 only U] Check if this is community property
(CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0.00
you have attached for Part 1. Write that mumber here. ...........:cccccececessssnccecsssseneceecesrceseccececesecsaneeenenpenneesesspensoea > |

 

 

 

‘Bescribe Your Vehictes

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

_ 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

C) No
Wi Yes
3.4. Make: LEXUS Who has an interest in the property? Check one. —_b not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: RX 350 i debtor 1 only Creditors Who Have Claims Secured by Property.
. 2007 Q Debtor 2 only - -- . : - .
Year: —_ O) Debtor 1 and Debtor 2 only Current value ofthe Current value of the
: ‘ . 170080 entire pro 7 ortion you own?
Approximate mileage: 0 Atleast one of the debtors and another property P y
Other information: 5 3204.00 5 3204.00 -
POOR CONDITION I O Check if this is community property (see
i instructions)
If you own or have more than one, describe here:
3.2, Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
C2 Debtor 4 on! the amount of any secured claims on Schedule D:
Model!: ebtor t omy Creditors. Who Have Claims Secured by Property. . |
LJ Debtor 2 only Leliiek Sue ch vp aaltvewee eats cot ete cee se
Year: —_—_. (2 Detter t and Debtor 2 enty Current value of the Current value of the ©
: F : entire property? ortion you own?
Approximate mileage: CJ At least one of the debtors and another property P y
Other information:
po $ $.

 

 

! (3 Check if this is community property (see
i instructions)

 

Official Form 106A/B Schedule A/B: Property page 2
: 4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

i

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

SARAH A. RICHARDSON

 

Who has an interest in the property? Check one.

Debter 1
First Nome Middle Name Last Name
3,3, Make:
Model: C Debtor 4 only
Y Cl Debtor 2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

wa No
Q) Yes

4.1. Make:
Model:
Year:

Other information:

 

!
t
L

 

en cl

 

CY Debtor 4 and Debtor 2 only
(} At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

(2 Debtor 1 only

C] Debtor 2 only

(3 Debtor 1 and Debtor 2 only

CQ) At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtar 1 only

C) Debtor 2 only

(2) Debtor 1 and Debtor 2 only

(2) At least one of the debtors and another

QC] Check if this is community property (see
instructions)

Case number (1 kncun),

Page 23 of 65

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have-Claims Secured by Property. .

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions: Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.
Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claima an Schedule D:
Creditors Who Have Claims Secured by Property.

 

 

Current value ofthe Current value of the
entire property? portion you own?

 

 

If you own or have more than one, list here:
4.2, Make: Who has an interest in the property? Check one. —_ D9 not deduct secured claims or exemptions. Put:
Q debtor 4 on! the amount of any-secured claims.on: Schedule. D:
Model: entor t only . Creditors Who Have Claims Secured by Property.
y U Debtor 2 only Current value ef the Cun luo of the
ear: Q urrent value of the urrent value of the
Debtor 1 and Debtor 2 only .
Other information: (2 At teast one of the debtors and another entire property? portion you own?
f 7
t |
\ i seen, $ $
| UL] Check if this is community property (see
i instructions)
{
s. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages S 3204.00
you have attached for Part 2. Write that mumber Were eee cessnesesssseesseeseeesesseeneesseessesseenesensesessesnesnssaresnnennnsaaeansensas >
Official Form 106A/B Schedule AJB: Property page 3
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 24 of 65
Debtor 1 SARAH A. RICHARDSON Case number (i known),

Fast Name Middle Name Last Name

Fiaecee Describe Your Personal and Household Items

 

Current value of the
_ portion you own?
“Do not deduct secured claims —

Do you own or have any legal or equitable interest in.any of the following items?

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
CJ No
Yes. Describe......... | COOKING UTENSILS, COUCH, EATING UTENSILS, PICTURE FRAMES, is 500.00 -
-AND TOWELS yj. . cee
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
O No coreecees Sy nemenagiananocnis acts in eat emroemmeenten|
Yes. Describe........., | COMPUTER, SMARTPHONE, AND TV $ 600.00 |
, 8 Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, colfectibles
fA No port nt ier tec  sentemmeminynnie as son satan ane ainigsis eiaiananaminns ine ni wien ate eee) enn
CI Yes. Describe.......... : § 0.00 -
, 9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, poo! tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
{2 No foo te ton teat cemented ag nearer Rn en Re Reenter eh met at enna ede rnenee aint sett ten ene deter ay
C) Yes. Describe.......... = 0.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
QC) No .
Yes. Describe......... SAVAGE AXIS .243 RIFLE AND GLOCK 23 $ 500.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
() No eee etic ae cnannatne on Ee ne an ce eee ins e ee cuentas oy
Yes. Describe.......... ALL CLOTHES AND FOOTWEAR /§$ 200.00
: 12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
oa No ce rei ce tem cote i airmen cae ae cite returner an Wak oe ahs ennunatin cet nanncamtt is
W Yes. Describe..........; NECKLACE i$ 20.00
13. Non-farm animals
Examples: Dogs, cats, birds, horses
CQ No
W Yes. Describe..........; DOG $ 100.00 |
14. Any other personal and household items you did not already list, including any health aids you did not list
( No ; ; _. _. _ oe
Q Yes, Give specific | § 0.00
information. ee . io
15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1920.00

 

 

 

 

for Part 3. Write that number here >

Official Form 106A/B Schedule A/B: Property page 4
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 25 of 65

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 SARAH A. RICHARDSON Case number (#t known),
First Name Middle Name Last Name
Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
: : : portion you own?
Bo not deduct secured claims
or exemptions.
: 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
[2 No
a Yes... Veena destegneeneesaneeueesesteonenneetsenenesasegtacnensestasnensaeteetaetseseetaSEGOPEOPGGEABENED PAU LEELOOU ROE DDESOL ODE LEELG SIGE SOE CASH. cccccccccssccscesceseee $ 10.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
LI No
YES vessesesssssssessee Institution name:
17.1. Checking account: NORTHEAST GREDIT UNION $ 0.00
17.2. Checking account: NORTHEAST GREDIT UNION $ 5.00
47.3. Savings account: NORTHEAST CREDIT UNION $ 5.00
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7, Other financial account: $
17.8. Other financial account: $
17.9, Other financial account: $

 

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No

DD Yes. Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

a No Name of entity: % of ownership:
OQ) Yes. Give specific %
informatian about
THEM... cece %
%

 

Official Form 106A/B Schedule A/B: Property page 5
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 26 of 65
Debtor 1 SARAH A. RICHARDSON Case number (known)

Fost Name Middle Name Last Name

20. Goveritment and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

W No

1 Yes. Give specific Issuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Q) Yes. List each
account separately, Type of account: Institution name:
401 (k) or similar plan: §
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
. 22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

(4 No

OD Ves occ Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water. $
Rented furniture: $
Other. $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
ZI No
7 Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 27 of 65

Debtor 1 SARAH A. RICHARDSON Case number grinown,

 

First Name Middle Name Last Nome

: 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No.

Se Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

' 25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wd No

C) Yes. Give specific
information about them.... | $

 

; 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Wi No.

() Yes. Give specific
information about them....

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
Wi No
Ld] Yes. Give specific :
information about them....: :$

0.00

0.00

0.00

Money or property owed to you? Current value of the
. . portion you own?
.-Do-not deduct secured
claims or exemptions. -

28. Tax refunds owed to you

No ve -
Cl Yes. Give specific information : i Federal:
about them, including whether: \
you already filed the returns i j State:
and the tax years... eee ; :
Local:

 

» 29. Family support
Examples: Past due or lump sum alimony, spousal suppert, child support, maintenance, divorce settlement, property settlement

M4-No

 

U) Yes. Give specific information.............. :
; : Alimony: $
‘ Maintenance: $
J
i Support: $
Divorce settlement: $
i Property settlement: §.
- 30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
dl No ER et a na eA REIN EAM eI RRR NR ARN RE OAM RR GR A IT RAE RUE A RRR RS ln TEE a A et NN
Q) Yes. Give specific information.........00:.: | $
Official Form 106A/B Schedule A/B: Property

page 7

0.00
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 28 of 65
Debtor: SARAH A. RICHARDSON Case number (# trou)

First Name Middle Name Lost Name

 

 

31, Interests in insurance policies
: Examples: Health, disability, or life insurance;health savings account (HSA);credit, homeowner's, or renter’s insurance
Wt No
C] Yes. Name the insurance company

, - Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

. 32. Any interest in property that is due you from someone who has died

‘Hf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

2 No

CJ Yes. Give specific information..............

 

 

 

 

i ls 0.00 .
_ 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
i No devine tet vn ngs aeepvesi ay tnnteveetentattt tw ween
Q] Yes. Describe each claim...
es. Vescnbe ea aim § 0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
A No
Yes. Descri TIM. veesecsecssrseseeee
QD Yes. Describe each claim | P 0.00
35. Any financial assets you did not already list
Q] Yes. Give specific information............ i $ 0.00
36. Add the deilar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber Were oo... cccccscscscsssesssesscssesecneecscecesseneqssntsonseesseseesseseenucenseesnareesoveconseecesensannsensneeneamessnneesensnecsaseetsey > s 20.00

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
@ No. Goto Part 6.
CI} Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

, 38.Accounts receivable or commissions you already earned

U) No
Cl) Yes. Describe......:

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

OQ No peer ee a kee eee ere anit te ee a ee mee Lene ee ORE cnt ne MM rm te RE re ae Rr RT meena teen re eee nt
U) Yes. Describe....... s

 

Official Form 106A/B Schedule A/B: Property page 8
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 29 of 65
Debtor 1 SARAH A. RICHARDSON Case number (i nown), !

First Name Middle Nate Last Name

 

: 40.Machinery, fixtures, equipment, supplies you use in business, and tcols of your trade

(C} Yes. Describe....... i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
41. Inventory
QC) No
©) Yes. Deseribe....... s
42. Interests in partnerships or joint ventures
Q) No
Q) Yes. Deseribe....... Name of entity: % of ownership:
ts $
% $
% $
43, Customer lists, mailing lists, or other compilations
CL) No
C) Yes. Do your lists include personafly identifiable information (as defined in 11 U.S.C. § 101(41A))?
CL} No
Q) Yes. Describe........ | 5
44, Any business-related property you did not already list
( No
C) Yes. Give specific $
information .........
$
$
$.
3.
ky
45, Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached $ 0 ,
for Part 5. Write that mumber Were oo... cccccscssscsscscssssssssssessnssesssssssseessstectsstsccsssseccesssnsessesseteessnesasssavescessnesessautensasneeceetsranistsssses ten > rs

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wd No. Go to Part 7.
CQ) Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims -
or exemptions.
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

CO] No

Oh meres woes - .

$

Official Form 106A/B Schedule A/B: Property page 9
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 30 of 65

Debtor 1 SARAH A. RICHARDSON Case number (rAnown),

 

First Name. Middle Name Lost Nemo

. 48,Crops—either growing or harvested

g No cee ene vee a sents eat eees ct Me tame ee Cenreeenn asone tal Saracen aapd tam carsteennccette eon merngn tte eens a '

Cd Yes. Give specific ,
information. ............ : : §

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
| =
$
50.Farm and fishing supplies, chemicals, and feed
OQ) No
i ee nnn ene en nee eee eee eee ee ee
\ :
§1. Any farm- and commercial fishing-related property you did not already list
OQ) No
C) Yes. Give specific | |
information.............i : §
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here 0... nstseeeense ences >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
C] Yes. Give specific |
information. ............ |
_ 54. Add the dollar value of all of your entries from Part 7. Write that number here ...................... > 0
List the Totals of Each Part of this Form
__ 85, Part 4: Total real estate, line 2 > § 0.00
- 56. Part 2: Total vehicles, line 5 § 3204.00
57. Part 3: Total personal and household items, line 15 $ 1920.00
. 58. Part 4: Total financial assets, line 36 $, 20.00
, 50. Part 5: Total business-related property, line 45 $ 0
: 60. Part 6: Total farm- and fishing-related property, line §2 $ 0.00
61.Part 7: Total other property not listed, line 54 +S 0
ponecemn nena .
62. Total personal property. Add lines 56 througit 61. uses $ 9144.00 : Copy personal property total > +#¢ 5144.00
63. Total of all property on Schedule A/B. Add line 55 + line 62.0... icessetensnseessesssesesesesessstaceseeacensens ususssansensessenee 3 5144.00
Official Form 106A/B Schedule A/B: Property page 10

 

 

 
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 31 of 65

Fill in this information to identify your case:

Debtor 1 SARAH A. RICHARDSON

 

 

 

 

First Name Migdle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE
Case number CI Check if this is an
(If Known)

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatlvely, you may clalm the full falr market value of the property belng exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

CJ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
J You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below,

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief 11 U.S.G. § 522(d)(3)
500.00
description: HOUSEHOLD GOODS $ 5 Ys 500.00
Line trom () 100% of fair market value, up to
Schedule A/B: 5 any applicable statutory limit
Brief 11. U.S.G. § 22()(3)
description: ELECTRONICS $ 500.00 Ys 600.00
Line from 5 C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief — : . 11_U.S.C. § 522/d)(3)
description: TMeARMS .__+_+_—s sooo =Y¢ 500.00
Line from C) 100% of fair market value, up to
Schedule A/B: 19 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
J No
(I Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
L) No
L) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 7
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Debtor 1

SARAH A. RICHARDSON

 

Fast Name

Middle Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Schedule A/B: -

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Last Name

Current. value of the
portion you own

Case number ¢f known)

Amount ofthe exemption you claim

Check only one box for each exemption

 

(I 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

 

Lu} 100% of fair market vatue, up to

 

C 100% of fair market value, up to
any applicable statutory limit

 

(2 100% of fair market value, up to
any applicable statutory limit

 

C7 400% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to

 

() 100% of fair market value, up to

 

CE 100% of fair market value, up to
any applicable statutory limit

 

CI 100% of fair market value, up to
any applicable statutory limit

Copy the value from
Schedule A/B
CLOTHES § 200.00 $ 200.00
i
JEWELRY S 20.00 AAs 20.00
je
PERSONAL ANIMALS $ ioo.00 | $ 100.00
13
CASH $ 10.00 Af $ 10,00
16 ; =
—_— any applicable statutory limit
NORTHEAST CREDIT UNION 5 0.00 w $ 0.00
17
NORTHEAST CREDIT UNION 5 5.00 wi $ 5.00
17
NORTHEAST CREDIT UNION 5 5.00 wi $ 5.00
17
$ Os
—__ any applicable statutory limit
$ Os
—_— any applicable statutory limit
§ Us
$ Os
$ Os

 

(] 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Page 32 of 65

Specific laws that allow exemption

17: U.S.C. § 522(d){3)

11 U.S.C. § 522(0){4)

11 ULS.G. § 522(d)(3)

11 U.S.C. § 5221d)(5}

11 U.S.C, § 522(d)(5)

11 U.5.6. § 522(d)(5)

11 U.S.C, § 522(d)(5)

page 2
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 33 of 65

Fill in this information to identify your case:

Debter1 SARAH A. RICHARDSON

 

 

First Name Middle Name Last Namo

Debtor 2
(Spouse, if filing) First Name Mid@e Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

 

Case number

{tf known) QC) Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

4. Do any creditors have claims secured by your property?
(3 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

List All Secured Claims

 
 
  
 

Column B Column C
Value of collateral “Unsecured
hat:s ‘thi i

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately Amount of lair
for each claim. If more than one creditor has a particular-claim, list the other creditors in Part 2.
As much as s possible, list the claims.in valphabetical order. according to the creditor's F name;

   
  
 

  

wx] NORTHEAST CU Describe the property that secures the claim: | . $. 5729.00 3 3204.00 3_2925.00
Creditor's Name

100 BORTHWICK AVE POB 13¢| VEHICLE RX 350 LEXUS :

Number Street

 

 

 

 

 

 

 

As of the date you file, the claim is: Check ail that apply.

Q) Contingent
PORTSMOUTH = NH 03801) 0 Untiquidatea

 

 

City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of Ilen. Check all that apply.
4 Debtor 1 only tf An agreement you made (such as mortgage or secured
C2) Debtor 2 only car loan)
QO) Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic’s lien)
© Atteast one of the debtors and another C1 Judgment tien from a lawsuit

C2 Other (including a right to offset)
' (J Check if this claim relates to a
i community debt

 

 

 

 

Date debt was incurred Last 4 digits of account number 0000 __ _ |
| 2.2) Describe the property that secures the claim: $. $ $
Creditor’s Name

 

 

 

 

 

 

 

Number Street
! As of the date you file, the claim is: Check all that apply.
Q Contingent
: Go Unliquidated
City State ZIP Code G oisputea
Who owes the debt? Check one. Nature of lien, Check all that apply.
Q Debtor 1 only CJ An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only © Statutory tien (such as tax lien, mechanic's lien)
O) Atleast one of the debtors and another Q) Judgment lien from 2 lawsuit

other {including a right to offset)
() Check if this claim relates to a

community debt
Date debt was Incurred Last 4 digits of account number ___ _

Add the dollar value of your entries in Column A on this page. Write that number here: . a)

 

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Fill in this information to identify your case:

 

SARAH A. RICHARDSON

 

 

Debtor 1

First Name. Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

Case number

Page 34 of 65

C} Check if this is an

 

(If known)

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

| Part 4: | List All of Your PRIORITY Unsecured Claims

amended filing

12/15

 

1. Do any creditors have priority unsecured claims against you?

QA No. Go to Part 2.
() ves.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority

unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

2.1
Priority Creditors Name
Number Street
City State ZIP Code
Who incurred the debt? Check one.
C) Debtor 1 only
C) Debtor 2 only
CJ Debtor 1 and Debtor 2 only
C) Atleast one of the debtors and another
() Check if this claim is for a community debt
Is the claim subject to offset?
O) No
QO ves
he |

 

Prority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C Atleast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?
QO) No
QO Yes

Official Form 106E/F

Total claim Priority

amount

Last 4 digits of account number ___ 5, 5

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
C) unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

LC) Domestic support obligations

C) Taxes and certain other debts you owe the government

C) Claims for death or personal injury while you were
intoxicated

C) Other. Specify

 

Last 4 digits of account number ___

Saas, $

Nonpriority
amount

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CQ) Contingent
Q) Unliquidated
QO Disputed

Type of PRIORITY unsecured claim:

{2 Domestic support obligations

LJ Taxes and certain other debts you owe the government

(J Claims for death or personal injury while you were
intoxicated

C) Other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Debtor 1 SARAH A. RICHARDSON

 

First Neme Middle Name Last Name

List All of Your NONPRIORITY Unsecured Clalms

Page 35 of 65

Case number ( known)

 

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules. ;

Yes

: 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one :
nonpriority unsecured claim, list the creditor.separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already

 

included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part. 3. lf Ifyou have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

L« | CAVALRY PORT

Nonpriority Creditors Name
500 SUMMIT LAKE DRIVE SUITE 400

 

 

  

Last 4 digits of account number 8332

21217

s__3880.00

When was the debt incurred?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street
VALHALLA NY 10595
City State ZIP Code As of the date you file, the claim is: Check all that apply.
| Q Contingent
| Who incurred the debt? Check one. C2 untiquidated
: 7} Debtor 1 only a Disputed :
; C) Debtor 2 only :
: Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim: ‘
: C) Atleast one of the debtors and another OQ Student toans
; QO Check If this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? Q Cebts to pension or profit-sharing plans, and other similar debts
@ no @ other. specity COLLECTION
O yes
2 CAVALRY PORT Last 4 digits of a account num nber 7098
Nonpriority Creditors Name When was the debt incurred? :
i 500 SUMMIT LAKE DRIVE SUITE 400
Number Street |
VALHALLA NY 10595 As of the date you file, the claim is: Check all that apply. :
= i
City State ZIP Code © contingent
| Who incurred the debt? Check one. O21 unliquidated |
i a Debtor 1 only Q Disputed :
C) Debtor 2 only
(2) nebtor + and Debtor 2 only Type of NONPRIORITY unsecured claim:
(CJ Atleast one of the debtors and another (2 Student loans
eee -o. | QO) Obligations arising out of a separation agreement or divorce i
QO) Check if this claim is for a community debt that you did not report as priority claims :
Is the claim subject to offset? QC) debts to pensicn or profit-sharing plans, and other similar debts |
No Of other. Specify COLLECTION |
QD Yes {
4.3 ae :
| CCHOLDINGS Last 4 digits of account number 0104 — 95 4 00
: Nonpriority Creditors Name $ t
When was the debt Incurred? 5/24/ 1 5 :
101 GROSSWAYS PARK DR W :
’ Number Street
: WOODBURY NY 11797
| City State ZIP Code

Who incurred the debt? Check one.

4 Debtor 1 only

C) Debtor 2 onty

C2) Debtor 1 and Debter 2 only

Q At feast one of the debtors and another

C) Check if this claim Is for a community debt

\s the claim subject to offset?

We No
QO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

As of the date you file, the claim is: Check ail that apply. |

O Contingent
Q) unliquidated \
CI Disputed :

Type of NONPRIORITY unsecured claim:

OQ) Student loans

Q) Obligations arising out of a separation agreement or divorce
that you did nat repart as priority claims
C) debts to pension or profit-sharing plans, and other similar debts

(7 other. Specity CREDIT CARD

page 3
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Debtor 4 SARAH A. RICHARDSON

Fust Name Middle Name Last Name

Case number (i known)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.
on :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44
CONCORD VILLAGE ASSOGIATES HODGES DEVELOPMENT CORPORATION Last 4 digits of account number UNKNOWN _ 3 561.53)
Nonprionty Creditors Name :
201 LOUDON ROAD When was the debt incurred? 201 9 |
Numbe! Street

amet ee As of the date you file, the claim is: Check all that apply. |
CONCORD NH 03301 !
City State ZIP Code oO Contingent
O) unliquidated
Who incurred the debt? Check one. Q Disputed
WA Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
0 Debtor 1 and Debtor 2 only CO Student loans
| Atleast one of the debtors and another 2 obligations arising out of a separation agreement or divorce that I
j : so . {
i Q) Check if this claim is for a community debt you did not report as priority claims os !
: C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? other. speciy RENT BACK FEES
a No :
O Yes :
45
CREDIT COLLECTION SERVICES Last 4 digits of account number 0540. — — $ 93.00
Nonpriority Creditors Name |
When was the debt incurred? _1 1 4/ 1 9 |
2 WELLS AVE |
Number Street - ae
NEWTON MA 02459 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code QO contingent
, O unliquidated
i Who incurred the debt? Check one. (2 Disputed
“ Debtor 1 only
(J Debtor 2 only Type of NONPRIORITY unsecured claim:

Ol Debter 1 and Debtor 2 only

Student loans
(CD Atleast one of the debtors and another

Q Obfigations arising out of a separation agreement or divorce that
you did not report as priority claims
OC) debts to pension or profit-sharing plans, and other similar debts

Q) Check if this claim is for a community debt

 

 

 

 

 

 

 

Is the claim subject to offset? w Other. Specify COLLECTION

a No

Ci Yes
+8 | 173 s 492.00

KOHLS/GAPONE Last 4 digits of account number 1798
: Nonpriority Creditors Name . :
PO BOX 3115 When was the debt incurred? 1 2/1 1 /1 5
: Number Street ie. :
MILWAUKEE wi 53201 As of the date you file, the claim is: Check ail that apply.
Gity State ZIP Code im] Contingent
; QO) unliquidated i
| Who incurred the debt? Check one. QQ pisputed |
| i Debtor 1 only |
i C) Debtor 2 onty Type of NONPRIORITY unsecured claim: |
: C) Debtor 1 and Debtor 2 only O student toans :

i O) Atleast one of the debtors and another (2 obtigations arising out of a separation agreement or divorce that

you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? (A other. Specify CREDIT CARD

gd No
QO) Yes

O) Check if this claim is for a community debt

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
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Debtor 4 SARAH A. RICHARDSON

Fust Name Middle Name Last Name

Case number (i known),

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. : 7 otal claim

i

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

47 :
MIDLAND GREDIT MANAGEMENT Last 4 digits of account number 2229 3 478.00:
Nonpriority Creditor’s Name i :
P.0. BOX 939069 When was the debt incurred? 5/ 3 0/ 7 |
Numbe Street

mer . As of the date you file, the claim is: Check all that apply. |
SAN DIEGO CA 92183
Cay State ZIP Code CJ Contingent
Q) unliquidated
Who incurred the debt? Check one. Q Disputed
“i Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O student loans i
At least one of the debters and another QO Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
y OQ Debts to pension or profit-sharing plans, and other similar debts
i Is the claim subject to offset? other. Specify COLLECTION
: a No
: QO yes

48 j ;

MIDLAND CREDIT MANAGEMENT Last 4 digits of account number 7509 __ — S 772.00 |

 

 

Nonprtarity Creditors N
” meee When was the debt incurred? 1 1 {23/1 6

P.O. BOX 939069

 

 

en pIeGO Steet cA 90193 As of the date you file, the claim is: Check all that apply.
City Stata TIP Code Q) contingent :
j C1 unliquidated :
j Who incurred the debt? Check one. C} disputed

“ Debtor 1 only

i Q] Debtor 2 only ~ Type of NONPRIORITY unsecured claim:

(] Debtor 1 and Debtor 2 only

() Student loans
C2 At feast one of the debtors and another

| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
) vebts to pension or profit-sharing plans, and cther similar debts

O) Check if this claim is for a community debt

 

 

Is the claim subject to offset? Wi other. Specify COLLECTION
Zi no
Q) Yes
49 | 3_ 1391.00
MIDLAND CREDIT MANAGEMENT Last 4 digits of account number 1568

 

 

 

Nonpriority Creditors Name

P.0. BOX 938069 When was the debt incurred? 1 /1 9/1 7

 

 

: aN DIEGO Sweet CA 92193 As of the date you file, the claim is: Check all that apply.

City State ZIP Code O contingent
C2 untiquidatea '
| Who incurred the debt? Check one. OQ oisputed

i YZ Debtor 1 only

| O) Debter 2 only Type of NONPRIORITY unsecured claim: i

C2 Debtor 1 and Debtor 2 only

CI Student loans
(CJ At teast one of the debtors and ancther

QO Obligations arising out of a separation agreement or divorce that ‘
\ spate - . you did not report as priority claims :
: fo ommunity debt :
Oi Check if this claim is fora commun ¥ QO cebts to pension or profit-sharing plans, and other similar debts i
Is the claim subject to offset? (A other. Specity COLLECTION :
a No |
Q) yes

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
Debtor 1

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

SARAH A. RICHARDSON

 

First Nome Middle Name Last Name

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Case number (it known),

Your NONPRIORITY Unsecured Claims — Continuation Page

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4.10 :
MIDLAND GREDIT MANAGEMENT Last 4 digits of account number 5393 _ __ 5 1 038.00:
Nonpriority Creditors Name :
P.0. BOX 939069 When was the debt Incurred? 3/ 30/ 1 7
Numbe Street i

umber ee As of the date you file, the claim ls: Check all that apply. |

SAN DIEGO CA 92193 }
City State ZIP Code QO) contingent
: O) Unliquidated
Who incurred the debt? Check one. CL) Disputed
: rv.) Debtor 1 only
: C2) Debtor 2 only Type of NONPRIORITY unsecured claim:
| 4 Debtor 1 and Debtor 2 only C Student toans

Atleast one of the debtors and another Q) obligations arising aut of a separation agreement or divorce that

| Q] Check if this claim is for a community debt you did not report as prionty claims
: ty C) Debts to pension or profit-sharing plans, and other similar debts
: ts the claim subject to offset? Ud other. specity COLLECTION
: a No
: Q) Yes

4a :
MIDLAND GREDIT MANAGEMENT Last 4 digits of account number 7139 sien
Nonpriority Creditors Name

Ww 12/29/1|
| °-0. BOX 830060 hen was the debt incurred? 12/29/16 |
: Number Street . sas tee ;
SAN DIEGO cA 92193 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code CJ Contingent
i O) unliquidated
Who incurred the debt? Check one. Q) oisputed :
| @ Debtor 1 only |
Q Debtor 2 only Type of NONPRIORITY unsecured claim: |
0 Debtor 1 and Debtor 2 only © student loans |
Atleast one of the debtors and another C) Obfigations arising out of a separation agreement or divorce that
scant ar : tt rt as priority claims
QO) Check cla for a community debt you did not repo
eck if this claim is y C} debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? J other. specify COLLECTION
Z no
0) Yes
[4.12 s 545.00
MIDLAND CREDIT MANAGEMENT Last 4 digits of account number 0337_ —_—
Nonprionty Creditor's Name :
P.O. BOX 939069 When was the debt incurred? 1 27/1 7
Number Street . woe ‘
SAN DIEGO CA 92193 As of the date you file, the claim is: Check afl that apply.
cay State ZIP Code OQ) Contingent

Who incurred the debt? Check one.

a Debtor 1 only

CI Debtor 2 only

C) Debtor 1 and Debtor 2 only

( Atleast one of the debtors and ancther

Qi Check if this claim is for a community debt

Is the claim subject to offset?

a No
OC) Yes

(J Untiquidated
Qa Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Q) Obligations arising out of a separation agreement or divorce that !
you did not report as priority claims :

OQ Debts ta pension or profit-sharing plans, and cther similar debts

Y Other. Specify. COLLECTION

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 SARAH A. RICHARDSON

 

First Name Middle Name Last Name

Case number (i known)

es «-.- NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

’ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim :
4.13 0007
MOHELA/DOFED Last 4 digits of account number VUU/ 3 3581 OO:
Nonpriority Creditors Name
633 SPIRIT DRIVE When was the debt incurred? 1 0/ a/ 1 5 |
Number Street a i
CHESTERFIELD MO 63008 As of the date you file, the claim is: Check all that apply. |
Cily State ZIP Code {2} Contingent
; Q) unliquidated
Who incurred the debt? Check one. Q Disputed
i YA Debtor 1 only :
Q cebter 2 only Type of NONPRIORITY unsecured claim:
i 4 Debtor 1 and Debtor 2 only Ww Student loans
| At least one of the debtors and another QO Obligations arising cut of a separation agreement or divorce that
|  C) Gheck if this claim is for a community debt you did not report as priority claims 7
: 2: Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C1 other. Specity :
a No L
QO Yes i
4.14 i
MOHELA/DOFED Last 4 digits of account number 0001 s_ 2504.00)
Nonpriority Creditor's Name !
When was the debt incurred? 2 21 l 05 |
633 SPIRIT DRIVE
Numb Street . e i
ver ree As of the date you file, the claim is: Check all that apply. i
CHESTERFIELD MO 63005 :
City State ZIP Code Q) Contingent
1 Unliquidated
i Who incurred the debt? Check one. OQ bisputea :
| ¥| Debtor 1 only |
CQ] Debtor 2 only Type of NONPRIORITY unsecured claim: i
5 Debtor 1 and Debtor 2 only Wi stucent toans |
: At least one of the debtors and another | Obligations arising out of a separation agreement or divorce that :
QO Check if this claim is for a community debt you did not report as priority claims _
OC) debts to pension or profit-sharing plans, and cther similar debts
Is the claim subject to offset? ©) otner. Specity,
© no
C) ves
4.18 s_ 1530.00
MOHELA/DOFED Last 4 digits of account number 0009 | _ _ —™ |
Nonprionty Creditor's Name
i ?
633 SPIRIT DRIVE When was the debt incurred? 7/6/1 6
Number Street . we
CHESTERFIELD MO 64005 As of the date you file, the claim is: Check all that apply.
City State ZIP Code OQ contingent ;

Who incurred the debt? Check one.

w Debtor 1 only

CY Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and ancther

C2 Check if this claim is for a community debt

Is the claim subject to offset?

a No
| C) ves

Q) Uniiquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

4 Student loans

oO Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

OC) debts to pension or profit-sharing plans, and other similar debts

CO other. Specify

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
Debtor 1

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SARAH A. RICHARDSON

 

First Name Middle Name Lasi Name

Case number (it known)

Your NONPRIORITY Unsecured Claims — Continuation Page

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4.16
MOHELA/DOFED Last 4 digits of account number 0008 — 3 6845.00:
Nonpriority Creditors Name ;
633 SPIRIT DRIVE When was the debt Incurred? 1 0/ 2/ 1 5
Number Street : ’

CHESTERFIELD MO 63008 As of the date you file, the claim is: Check all that apply.
City State 2'P Code 1 Contingent
QO) unliquidated
Who incurred the debt? Check ona. C1 Disputed
” Debtor 1 only :
C) Debtor 2 only Type of NONPRIORITY unsecured claim: :
5 Debtor 1 and Debtor 2 only U Student loans i
At least one of the debtors and ancther Q) obtigations arising out of a separation agreement or divorce that |
(I Check if this claim is for a community debt you did nat report as pricrity claims
y C} debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CD other. Specify
: a No
Q Yes
417 :
MOHELA/DOFED Last 4 digits of account number 0012) s 6101.00!
Nonpricrity Creditors Name
934 SPIRIT DRIVE When was the debt incurred? 1 2/ 20/ 1 8 |
Number Street 7 ar
CHESTERFIELD MO 63005 As of the date you file, the claim is: Check all that apply.
City State ZIP Code (2) Contingent
: C) Unliquidated
' Who Incurred the debt? Check one. QO Disputed
{ A Debtor 1 only
O) Cebtor 2 only Type of NONPRIORITY unsecured claim:
{
4 Debtor 1 and Debtor 2 only a Student loans |
At least one of the debtors and anather QO Obligations arising out of a separation agreement or divorce that :

QO Check if this claim is for a community debt you did not report as priority claims

OQ debts ta pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? {2 other. Specify.

a No

Q Yes
4.48

0014 s 3900.00

MOHELA/DOFEO Last 4 digits of account number VUELL TT

Nonpriority Creditors Name

$98 SPIRIT DRIVE When was the debt incurred? 1 2/20/1 8

Number Street . se

CHESTERFIELD MO 63005 As of the date you file, the claim is: Check afl that apply.

City State ZIP Code Q) Contingent
i QO Unliquidated \
| Who incurred the debt? Check one. OQ disputed |
| J debtor 4 only
i O) Debtor 2 only Type of NONPRIORITY unsecured claim:

QO) Debtor 1 and Debtor 2 only w Student loans
O) At teast one of the debtors and another (2 Obtigations arising out of a separation agreement or divorce that ‘
: i iority claims :
Och spat a ity debt you did not report as priority
: eck if this claim is for a community de C] vebts to pension or profit-sharing plans, and other similar debts :
‘ ts the claim subject to offset? Cl) other. Specity. :
i Zi no |
| QO) Yes
I
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
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Debtor 1 SARAH A. RICHARDSON

 

First Nome. Middle Name Last Name

Case number (i known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

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After listing any entries. on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.19 :
MOHELA/DOFED Last 4 digits of account number 0002 __ 3 2504.00:
Nonpriority Creditor's Name :

i
633 SPIRIT DRIVE When was the debt incurred? 3/ 1 4/ 06
Number __ Street As of the date you file, the claim is: Check all that app!
CHESTERFIELD MO 63005 you The, le ea ‘ anne! PRY.
City State ZIP Code Q Contingent
: . Q) Untiquidated :
Who incurred the debt? Check one. 2) bisputed :
i {A Debtor 1 only :
: Q) debter 2 only Type of NONPRIORITY unsecured claim:
j Q Debtor 1 and Debter 2 only student loans i
C1 Atleast one of the debtors and another QO Obligations arising cut of a separation agreement or divorce that |

{ : Se :
QO Check if this claim is for a community debt you did not repart as priority claims 7
, C}- Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? C) other. Specify i
: a No i
CQ) Yes :

4.20 ji
MOHELA/DOFED Last 4 digits of account number 0003_ —_— __ $ 3812.00
Nonpriority Creditors Name

When was the debt incurred? 3 1 Q7 |

: 633 SPIRIT DRIVE
: Number Street - _ ‘
CHESTERFIELD MO 63005 As of the date you file, the claim is: Check all that apply. :
: City State ZIP Code QQ Contingent :
i ; QC) untiquidated
Who incurred the debt? Check one. Q Disputed
| WY Debtor 4 only |
| C) Debtor 2 only Type of NONPRIORITY unsecured claim:
| 5 Debtor 1 and Debtor 2 only wi ‘Student loans |
: Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :

QO) Check if this claim is for a community debt Q you did not report as priority claims a

Debts to pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? C2 other. Specify

a No

QO) yes
421 s 5580.00

Last 4 digits of account number 0006 _ _ __

MOHELA/DOFED rT

Nonpriority Creditor’s Name :
633 SPIRIT DRIVE When was the debt incurred? 3/ 1 6/ 07 :
Number me As of the date you file, the claim is: Check all that appl '

CHESTERFIELD MO gaccs s of the date you file, the claim is: Check all that apply.

City State ZIP Code QO Contingent i
i Q) unliquidated i
Who incurred the debt? Check one. Q disputed |
“ Debtor 1 only |
i () Debtor 2 onty Type of NONPRIORITY unsecured claim: '
CJ Debtor 1 and Debtor 2 only WZ student toans
t C) At least one of the debtors and another QO obligations arising out of a separation agreement or divorce that f
(© Check if this claim is for a community debt Ot did not report as priory claims 7
: Debts to pension or profit-sharing plans, and other similar debts ;
i Is the claim subject to offset? O other. Specify
i a No
| QO) Yes i
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
Debtor 1

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

SARAH A. RICHARDSON

 

First Nome Middle Name

Last Name

Case number (i knawn,

Your NGNPRIORITY Unsecured Claims — Continuation Page

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“Total claim

 

 

 

 

 

 

 

 

‘ee i 0010
MOHELA/DOFED Last 4 digits of account number UVIY 3 2200.00:
Nonpriority Creditors Name 7 j
633 SPIRIT DRIVE When was the debt Incurred? /6/16
Number Street

nner " As of the date you file, the claim is: Check al} that apply. |
CHESTERFIELD MO 63005 i
Giiy State ZIP Code O) Contingent :
) untiquidated
Who incurred the debt? Check one. ©) cisputea
Ya Debtor 1 only
Q) Debter 2 only Type of NONPRIORITY unsecured claim:

| 4 Debtor 1 and Debtor 2 only ZH student toans

| At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that i

| (] Check if this claim is for a community debt you did not report as priority claims oe |

: OQ debts to-pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? OQ other. Specify
a No
C) Yes

4.23 _ —
MOHELA/DOFED Last 4 digits of account number 0004 __ __ $ 4475.00:
Nonprionity Creditors Name

When was the debt incurred? 2 21 /05 |
633 SPIRIT DRIVE
Numbe Street
umper °e As of the date you file, the claim is: Check all that apply.
CHESTERFIELD MO 63005
City State ZIP Code 3 Contingent
‘ 2) untiquidated
Who incurred the debt? Check one. CQ) cisputea
i a Debtor 1 only j
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only student toans
Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
QO Check if this claim is for a community debt a you did not report as priority claims |
Debts to pensicn or profit-sharing plans, and other similar debts
Is the claim subject to offset? C2 other. Specity,
i no
U) Yes
[4.24 0005 s 4475.00
MOHELA/DOFED Last 4 digits of account number VUVO
Nonpriority Creditors Name |
633 SPIRIT DRIVE When was the debt incurred? 3/ 1 4/ 06
Number Street 5 wa
: CHESTERFIELD Mo 53005 As of the date you file, the claim is: Check all that apply.
: City State ZIP Code © contingent
C) Untiquidated i
| Who incurred the debt? Check one. Q Disputed
i (A Debtor 1 only
| CO) Debtor 2 only Type of NONPRIORITY unsecured claim:
i (J Debtor 1 and Debtor 2 only u Student loans
() At least one of the debtors and another 2 Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims ,
; OQ Debts to pension or profit-sharing plans, and other similar debts
: $s the claim subject to offset? ) other. Specity
| a No
i QO Yes
} i
bow. i see
Official Form 106E/F Schedute E/F: Creditors Who Have Unsecured Claims page 4
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pebtor1 SARAH A. RICHARDSON

 

Fist Name Middle Name Last Name

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Total claim

 

 

 

 

 

 

 

 

 

4.25 \
PORTFOLIO RECOVERY ASSOCIATES, LLC Last 4 digits of account number 1846 $ 730.00:
Nonpriority Creditors Name 2 / | 7
120 CORPORATE BLVD When was the debt incurred? 6/29/17
Numbei Street i

mer ° As of the date you file, the claim is: Check all that apply. |
NORFOLK VA 23502 i
Say Slate ZIP Code OQ contingent :
© Uuritiquidated :
Who incurred the debt? Check one. Q Disputed
[2 debtor 1 only ‘
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only 1 student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
se phat , did not report as priority claims i
CJ Check if this claim is for a community debt you
| this cl ty C} pebts to pension or profit-sharing plans, and other similar debts |
: Is the claim subject to offset? VA other. specify COLLECTION
Z no
‘ C) Yes

4,26
PORTFOLIO RECOVERY ASSOCIATES, LLC Last 4 digits of account number 1191 _ s_2975.00
Nonpriarity Creditors Name

When was the debt incurred? 5/ 23/ 18 \
126 CORPORATE BLVB :
Number Street 5 ee :
NORFOLK VA 23502 As of the date you file, the claim is: Check all that apply.
City State 2iP Code Q Contingent
1 unliquidated
Who incurred the debt? Check one. QO) bisputea
{ | Debtor 1 only |
| C) Debtor 2 only Type of NONPRIORITY unsecured claim: |
{
4 Debtor 1 and Debtor 2 only © student loans
: At least one of the debtors and another CJ Obligations arising out of a separation agreement or divorce that j
! UO Check if this claim is for a community debt you did not report as priority claims _
: C2 nebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? wi Other. Specify COLLECTION
Zi no
Q ves
PORTFOLIO RECOVERY ASSOCIATES, LLC Last 4 digits of account number 9/6
Nonprionty Creditors Name :
120 CORPORATE BLVD When was the debt incurred? | 9/4 8 :
: Number Street . vo,
NORFOLK VA 23802 As of the date you file, the claim is: Check all that apply. :
: City State ZIP Code QO) Contingent
liquidate i
O) unliquidated :
| Who incurred the debt? Check one. Q bisputed
| A Debtor 1 only i
OQ Debtor 2 only Type of NONPRIORITY unsecured claim:
C] Debtor 1 and Debtor 2 only © student toans
i O) Atleast one of the debtors and another 2 obligations arising out of a separation agreement or divorce that :
: or at: , : did net report as priority claims :
Och f nity debt you :
: eck if this claim is for a community (© Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? (A other. Specity COLLECTION :
| a No {
' O) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4
Debtor 1

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

SARAH A. RICHARDSON

 

Firal Name Middle Name Last Name

Case number (ir known),

Your NONPRIORITY Unsecured Claims — Continuation Page

Page 44 of 65

 

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘28 igi 4363
SW GRDT SYS Last 4 digits of account number 4909 $ 94.00:
Nonpriority Creditors Name ;
4120 INTERNATIONAL PARKWAY SUITE 1100 When was the debtincurred? 2/13/19 |
Number Street . {
CARROLLTON x 75007 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QC) Contingent
Q) Untiquidated

Who incurred the debt? Check one. O) bisputea

Fi Debtor 1 only

(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only C Student toans
i At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that

ae . id not report as priority claims

Q Check if this claim is for a community debt you di
| ¥ Q debts to pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? Wi other. Specify COLLECTION :

wi No i
OQ} Yes :

4,29 :
SYNCBITJX Last 4 digits of account number 2609 —_— $ 536.00
Nenpriority Creditor's Name

When was the debt incurred? | { l2 / f 1 5
' PO BOX 965015
i Numb treat . wo
: mest Stree As of the date you file, the claim is: Check all that apply.
: ORLANDO FL 32896
; City State ZIP Cade Q Contingent
! C2 untiquidated
Who Incurred the debt? Check one. Q Disputed
i YW Debtor 14 only
O Cebtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only © Student toans
: Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
tea: es . you did not report as priority claims
ra ity debt

O Check if this claim is for a commun ty QC) bDebts ta pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? WZ other. specity CREDIT CARD

Z no

i ves

4.30 UNKNOWN s/18.70
UNITIL Last 4 digits of account number VINAINUYYIN
Nonpriority Creditors Name .

P.O. BOX 981077 When was the debt incurred?

Number Street . ten igs

BOSTON MA 02298-1077 As of the date you file, the claim is: Check all that apply.
City State ZIP Code ( Contingent

Official Form 106E/F

Who incurred the debt? Check one.

4 Debtor 1 only

OD) Debtor 2 only

C] debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

a No
QO) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

OD) Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

OQ Obligations arising cut of a separation agreement or divorce that
you did not report as priority claims

CD Debts to pension or profit-sharing plans, and other similar debts

(A other. Specity UTILITIES

page 4
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 45 of 65
Debtor 1 SARAH A, RICHARDSON Case number (i known)

Fist Name Middle Name Lost Nome

 

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

» After listing any entries on this page, number them beginning with 4.4, followed by.4.5, and so forth. Total claim. :
4.31 i
VA MEDICAL CENTER Last 4 digits of account number UNKNOWN _ ; 411.60:
Nonprionity Creditors Name :
718 SMYTH ROAD When was the debt incurred? |
Number Street i
MANCHESTER NH o3i04 As of the date you file, the claim is: Check all that apply.
City State ZIP Code (2 Contingent :
CJ unliquidated :
Who incurred the debt? Check one. ©) Disputed :
Y Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another Q Obligations arising cut of a separation agreement or divorce that i
se eh: ; did not report as priority claims i
C) Check if this claim is for a community debt you
Yy OC} debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? (J Other. Specify M
a No
QO Yes
|_| Last 4 digits of account number ss = $
Nonprionity Creditor's Neme
When was the debt incurred? i
Numb tr
veer Steet As of the date you file, the claim is: Check all that apply. i
City State ZIP Code ©) contingent :
QO) unliquidated
Who incurred the debt? Check one. OQ disputed :
i ( Debtor 1 only |
QO Debter 2 only Type of NONPRIORITY unsecured claim:

C) student loans
| Obfigations arising out of a separation agreement or divorce that
you did not report as priority claims
Cl vetts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CJ other. Specify
: OC) No
‘ QO Yes

| CQ Debtor 1 and Debtor 2 only
' (3 At teast one of the debtors and anather

CE Check if this claim is for a community debt

 

 

 

 

Last 4 digits of account number

 

Nonprionty Creditor’s Name :
When was the debt incurred? :

 

 

Number Steet As of the date you file, the claim is: Check all that apply.

City State ZIP Code {3 Contingent

| QJ Untiquidated
Who incurred the debt? Check one. © disputed

| C) Debtor 1 only
C) Debter 2 only Type of NONPRIORITY unsecured claim: i

C2) Debtor 1 and Debtor 2 only

) Student loans
Q Atleast one of the debtors and another

Oo Obligations arising cut of a separation agreement or divorce that
you did not report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? OQ other. Specify
CQ) No

OQ) ves

Q Check if this claim is for a community debt

 

Official Form 106E/F Schedute E/F: Creditors Who Have Unsecured Claims page 4
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document
SARAH A. RICHARDSON

Debtor 1

Page 46 of 65

Case number (i known),

 

First Nemo

Middle Name

Las! Name.

 

Gal List Others to Be Notified About a Debt That You Already Listed

"example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in | Parts ior
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_CS
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line_____sof (Check one): 2 Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_
ee aca p aceite ean ence eR ALE Cd cae iecins mannan oe ceenaeninanccinaiainanes toptane nmap een nnnsensgec anton fie mms ime Lament et mn
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 dials of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the 9 original c creditor?
Name .
Line_ sof (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street QC] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code _
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line____soof.: (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __. LL
City State IP Code covanucunenn, nomean vou . . sonsumeey-mteivae
= On which entry in Part 14 or Part 2 did you list the original creditor?
ame
Line sof (Check one): C1 Part 14: Creditors with Priority Unsecured Ciaims
Number Street C1 Part 2: Creditors with Nonpricrity Unsecured
Claims
FIP Code Last 4 digits of account number

City

Official Form 106E/F

State

Schedule E/F: Creditors Who Have Unsecured Claims page 13
ad «: the Amounts for Each Type of Unsecured Claim

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document
SARAH A. RICHARDSON

Fist Name Middle Name Last Name

Debtor 4

Case number (i known)

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- 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

|
|

f

Total claims
from Part 1

"Total claims

, from Part 2

: Ba.

6b.
6c.

Bd,

6e.

6h.

Bi,

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add ail other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student toans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

~ 6], Total, Add lines 6f through Gi.

Official Form 106E/F

6a,

6b.

6c.

6d.

6e.

GT.

6g.

Gh.

Gi.

Gj.

 

 

 

 

 

 

- Total claim:
$ 0.00
$ 0.00
$, 0.00

+s 0.00
§. 0.00
$ 47107.00
$ 0.00
$ 0.00

+s 19181.83
g 66288.83

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page 14
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 48 of 65

Fill in this information to identify your case:

Debir 4» SARAH A. RICHARDSON

Firat Name Middle Name

 

Debtor 2
(Spouse tf filing) First Name Middle Name Last Name

United States Bankruptey Court for the: DISTRICT OF NEW HAMPSHIRE

 

Case number

(It known) C) Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
0 No. Check this box and file this form with the court with your other schedules. You have nathing else to repart on this form.
OQ) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease eo State what the contract or lease is for

24

 

Tame

 

Number Street

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

 

}
| City State ZIP Cade

 

 

Number eet

 

City State ZIP Code

 

Name

 

Number Street

 

{ City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 49 of 65

Fill in this information to identify your case:

Debtor1 SARAH A. RICHARDSON

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

 

Case number
(If known)

 

 

 

C) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debits you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

_ 4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
u No
Q) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wi No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

O) No

() Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

| 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply: i
3:1
Q) Schedule D, line
Name *
L) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
3.2
Q) Schedule D, line
Name
QO] Schedule E/F, line
Number Street C) Schedule G, line
City State _ ZIP Code
3.3
CQ) Schedule D, line
Name
Q) Schedule E/F, line
Number Street L) Schedule G, line
City, 5 Bt a tI Coe

Official Form 106H Schedule H: Your Codebtors page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 50 of 65

Fill in this information to identify your case:

 

Debtor 4 SARAH A, RICHARDSON

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) FirstName Middle Name Last Name

DISTRICT OF NEW HAMPSHIRE

 

United States Bankruptcy Court for the:

Case number Check if this is:
(If Known)
() An amended filing

OA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 My DD) YYYY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

Te GB Describe Employment

 

1. Fillin your employment -
information. Debtor 1 Debtor 2 or non-filing spouse

+ eee Ar sac R ARE MRNA ta ten pease = Mase ere RR LA EA RARER NEE Ea ena

 

If you have more than one job,
attach a separate page with
information about additional Employment status U Employed UO Employed

employers. Wi Not employed (J Not employed
Include part-time, seasonal, or

self-employed work,
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. Z. 5 0.00 $
3. Estimate and list monthly overtime pay. 3: Ss 0.00 +s
4, Calculate gross income. Add line 2 + line 3. 4. $ 0.00 $

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 51 of 65

 

 

 

Debtor 1 SARAH A. RICHARDSON Case number (it known),
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
: : : non-fili Se
Copy lime 4 Were... ccc cecceseessssesssssssesssessscsneessessessecsesssesseeesaeceueceaceaseesacs >4. $0.00 $.

5. Indicate whether you have the payroll deductions below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions Sa. = § 0.00 $
5b. Mandatory contributions for retirement plans 6b. $ 0.00 $
Sc, Voluntary contributions for retirement plans 5c. 0.00 $
5d. Required repayments of retirement fund loans §d. $ 0.00 $
5e. Insurance Se. $ 0.00 $
5f. Domestic support obligations 5t. 3 0.00 $.
5g. Union dues 5g.  § 0.00 §
5h. Other deductions. Specify: 5h. +§ 0.00 +¢
| 6, Add the payroll deductions. Add lines 5a + Sb+ 5c+Sd+S5e+Sf+5g+5h. 6 = § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 § 0.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business, 8a. $ 0.00 $
profession, or farm
: Aitach a statement for each property and business showing gross receipts, ordinary and
i necessary business expenses, and the total monthly net income.
8b. Interest and dividends $ 0.00 $
‘8c. Family support payments that you, a non-filing spouse, or a dependent 5 0.00 $
regularly receive
include alimony, spousal support, child support, maintenance, divorce settlement, and
property settlement.
8d. Unemployment compensation $ 0.00 $
8e. Social Security 5 0.00 $
8f. Other government assistance that you regularly receive
: Include cash assistance and the value (if known) of any non-cash assistance that you
' receive, such as food stamps ar housing subsidies.
Speafy (Cebtor 1}: Specify (Debtor 2 or Non-Filing Spouse):
$ 0.00 $
8g. Pension or retirement income $ 0.00 $
_ 8h, Other monthly income.
i Specity (Debtor 1): Specify (Debtor 2 or Non-Filing Spouse):
$0.00 $
'9. Add all other Income. Add lines 8a + 8b + 8c + 8d + 8e + BF +8g + Bh. $. 0.00 | $. |
-10. Calculate monthly income. Add line 7 + line 9. | $ 0.00 + $ 0.00 = | $ 0.00

 

 

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

i

:11. State all other regular contributions to the expenses that you list in Schedule J. i
' Include contributions from an unmamied partner, members of your household, your dependents, your roommates, and other friends or !
| felatives. Do not Include any emounts already Included In tines 2-10 or amounts that are not available to pay expenses fisted In Schedule J. :

 

 

Specify: JASON CAMPBELL Wt $ 424.06 —
12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 42 . 424.06
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies , .

 

 

Combined

12. Do you expect an increase or decrease within the year after you file this form? monthly income

(2) No.
Von Explain: GRADUATE AND FIND EMPLOYMENT

 

 

 

 

Official Form 1061 Schedule 1: Your Incoitie page 2
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 52 of 65

Fill in this information to identify your case:

 

SARAH A. RICHARDSON

Debtor 1

 

 

 

First Name Middle Name Last Name Check if this is:
Debtor 2 i
(Spouse if filing) First Name Middle Name Last Name 4 An amended filing
A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE expenses as of the following date:
Case number MM / DD/ YYYY
(If known)

 

Official Form 106J
Schedule J: Your Expenses 4245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ae Describe Your Household

1. Is this a joint case?

 

 

| No. Goto line 2.
LJ Yes. Does Debtor 2 live ina separate household?

CL) No
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? LJ No . .
Dependents relationship to Dependent’s Does dependent live
Do not list Debtor 1 and @& Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... cece ON
Do not state the dependents’ CHILD 13 of g
names. Yes
C) No
OC) Yes
C] No
QC) Yes
QO) No
QO) Yes
C) No
OQ) ves
3. Do your expenses include wh No

expenses of people other than
yourself and your dependents? U Yes

re Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance If you know the value of

such assistance and have included it on Schedule |: Your Income (Official Form 1061.) Your expenses
4, The rental or home ownership expenses for your residence. Include first mortgage payments and 5 0.00
any rent for the ground or lot. 4. -

If hot [cluded ff Ihe 4:

4a, Real estate taxes 4a, $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b, § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Debtor 1

10.
11.

12.

13,

14,

15.

16.

17.

18.

19,

20.

Official Form 106J

Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

SARAH A, RICHARDSON

First Nate Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies
. Childcare and children’s education costs
. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number {it known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule i, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you,
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowners, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses
20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

6a.
6b.
8c.
6d,

10.
11,

12.
13.
14.

15a,
15b,
1c.
15d.

16,

17a.
17b.
17.

17d.

18.

19.

20a,
20b.
20c.
20d.
20e.

Page 53 of 65

Your expenses

 

$ 0,00
0.00
gs.
$ 150.00
$ 0.00
gS Cs50.00.
s_0.00
$B
$s C000
$C
$ 75.00
5 0.00
$ 0.00
$ 0.00
5 0.00
$ 0.00
3 0.00
$ 0.00
5 275.00
$
3.
$
$ 0.00
$ 0.00
3 0.00
$ 0,00
$ 0.00
$ 0.00
$ 0,00
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 54 of 65

 

 

Debtor 1 SARAH A. RICHARDSON Case number {it known),
Fost Name Middle Name Last Name
21. Other. Specify: 21, +S 0.00

 

22. Calculate your monthly expenses.

|
|

22a. Add lines 4 through 21. 22a.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b.

22c. Add line 22a and 22b. The result is your monthly expenses. 22c.

 

23. Calculate your monthly net income.

 

424.06
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $___“s nn’.
23b. Copy your monthly expenses from line 22c above. 23. og 688.00
23c. Subtract your monthly expenses from your monthly income.

$ -263.94
The result is your monthly net income. 23. ———

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect ta finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
QO) no.

Wi Yes. Explain here: STI

[rote ee tea eee ee ener bmenes ets een ten emg tancne nent anena ie foie oe

IDENT LOANS AFTER GRADUATION AND RENT PAYMENT

Official Form 106J Schedule J: Your Expenses page 3
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URAC CAL Cole Check one box only as directed in this form and in

Form 122A-1Supp:

 

Debtor 1 SARAH A. RICHARDSON

First Name Middle Name Last Name “ -
wf 1. There is no presumption of abuse.
Debtor 2

(Spouse, if filing) First Name Middle Name Last Name Gy 2. The calculation to determine if a presumption of

/ abuse applies will be made under Chapter 7
United States Bankruptcy Court forthe: DISTRICT OF NEW HAMPSHIRE Means Test Calculation (Official Form 122A~2).

 

Case number () 3. The Means Test does not apply now because of
(If known) qualified military service but it could apply later.

 

 

 

 

() Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly income 4125

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 1224-1 Supp) with this form.

Ea Calculate Your Current Monthly Income

| 4. What is your marital and filing status? Check one only.
wi Not married. Fill out Column A, lines 2-11.
() Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
L) Married and your spouse is NOT filing with you. You and your spouse are:
Living in the safe household anid are fot legally separated. Fill out both Columns A and B, lines 2-11.

(J Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31, If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

‘ 2. Your gross wages, salary, tips, bonuses, overtime, and commissions 5 236.23

(before all payroll deductions). 5

3. Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. g___0.00 5

| 4, Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contribulions
from an unmarried pariner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3.

§ 393.37 $

5. Net income from operating a business, profession, Debtor 4 Debtor 2

 

 

or farm
| Gross receipts (before all deductions) s_0.00 a
| Ordinary and necessary operating expenses -$0.00-s
' Net monthly income from a business, profession, or farm $0.00 5 poets 5 0.00 $
6. Net income from rental and other real property Pepiar Debtor 2
Gross receipts (before all deductions) $ 0.00 %
Ordinary and necessary operating expenses -30,00-5
Net monthly income from rental or other real property 50.00 5 nee 5 0.00 $
$

7. Interest, dividends, and royalties S 0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debter 1 Case number (i known),
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $
Do not enter the amount if you contend that the amount received was a benefit
under the Social: Security. Act: Instead, list it heres. eee
For you $ 0,00
For your spouse. §
9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 $
10. Income from all other-sources not listed above. Specily the source and aifiount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or intemational or domestic
i ‘terrorism. If necessary, list other sources on a separate page and put the tatal below.
i 0.00 $
$
Total amounts from separate pages, if any. +3 +$
' +
11. Calculate your total current monthly income. Add lines 2 through 10 for each i | i=
column. Then add the total for Column A to the total for Column B. $ _ 629. 60; $ 0. 00, “Lg 629.60
i ~— A mmernrenenee Total current

Determine Whether the Means Test Applies to You

monthly Income

 

 

 

12. Calculate your current monthly income for the year. Foilow these steps:
42a. Copy your total current monthly income from line 11.

 

Muitiply by 42 (ihe number of months in-a year).
12b. The result is your annual income for this part of the form.

13. Calculate the median family income that applies to you. Follow these steps:

[INH |

Fill in the number of people in your household. 2

Fill in the state in which you five.

 

 

 

 

 

Copy line 14 here> 29.6
x 12
1a! §_Z7B55.20 |
cecsenvessees 13. $s 77719.00

 

Fill in the median family income for your state and size of household.

instructions for this form. This list may also be. available at the bankruptcy clerk's office.

14. How do the lines compare?

14a,
Go to Part 3.

 

Go to Part 3 and fil cut Form 1224-2.

lar: a ae) Sign Below

 

 

 

To find-a list of applicable median income amounts, go online using the link specified in the separate

Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.

14b. L) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

 

x

 

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

ature of Debtor 1

Date ld 4 | mw (9 Date
MM ADD FIYYYY MM? DD

ty¥yYyYY

If you checked line 14a, do NOT fill out or file Form 122A—2.

Signature of Cebtor 2

 

 

} i
t

Ifyou checked line 14b, fill out Form 122A~2 and file it with this form.

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly Income

page 2
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 57 of 65

Fill in this information to identify your case:

Debtor 4 SARAH A. RICHARDSON

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

 

Case number () Check if this is an
(if known} amended filing

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as compiete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

ESE summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

ta. Copy line 55, Total real estate, from Schedule A/B....cccssscsssssecssessescsescsescseccssecssecsuscsuccssscusccssecsuecsnecsecceeseseserneeeneesneeenasens s__ 0.00
1b, Copy line 62, Total personal property, from SChECule A/Bo..cccccccccceeseesesseeseeseesteseeseesteesteseeneesseenseneeneeanesnesnesseesees 5 5144.00
te: Copy litte 63, Total of all property'Gn Schedisle AUB... ccccccsorssssssscssssesesssevssonnsaseveressedseasseessaartarsiensuessssnecenasacenecsasnenenenane § 5144.00

 

 

 

ra Summarize Your Liabilities

Your liabilities
1 Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $ ___ 5729.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

g 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of SchECule E/F oo... eessseeeeteeeteteeenenens + § 66288.83

 

 

 

 

 

Your total liabilities $ 72017.83

aes Summarize Your Income and Expenses
_ 4. Schedule |: Your Income (Official Form 1061) 424.06
| Copy your combined monthly income from line 12 of SCHEGUIE I...........eececeseeeeceseneneneeeeeeseseseseeeseseeeseseseseneneneneneasaeanaenenenens +
5. Schedule J: Your Expenses (Official Form 106J) 0
Copy your monthly expenses fram line 22c of SChEdUIE U .........:ccceceeeeceeeeeeeesee eee e ee eeeteeeeeeeeteneeeeneeneeneetsneenetieneeneeeeeenninees $ _____—6 88.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Debtor 1 SARAH A. RICHARDSON

First Name Middle Name Last Neme

 

itise-ie Answer These Questions for Administrative and Statistical Records

Case number ( snown),

Page 58 of 65

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

-
|

wy eran ae

C) No,
wi Yes

7. What kind of debt do you have?

wi Your debts are primarily consumer debts. Consumer debits are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

this ferm to the court with your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

From Part 4on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.)
9b. Taxes and certain other debts you owe the goverment. (Copy line 6b.)
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

9d. Student foans. (Copy line 6f.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

9g. Total. Add lines 9a through 9f.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

 

 

 

 

 

 

 

$ 629.60
Total claim: -
§ 0.00
$ 0.00
§ 0.00
$ 47107.00
$ 0.00
+3 0.00
$ 47107.00
page 2

Official Form 106Sum Summary of Your Assets and.Liabilities and Certain Statistical Information
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 59 of 65

Fill in this information to identify your case:

Debtor 1 SARAH A. RICHARDSON

First Name Middle Name Last Name

 

Debtor 2 _——
(Spouse, if filing) First Name

a ‘“Migale Name Last Name :
United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

Case number
(If known)

 

L) Check if this is an

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

i No

QO Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

Signature of Debtor 2

Date
MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 60 of 65

 

Fillin this information to identify your case:

Debtor 1 SARAH A, RICHARDSON

First Name Middle Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court forthe: DISTRICT OF NEW HAMPSHIRE

Case number
(If known)

 

Li Check if this is an
amended filing

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 tas

 

if you are an individual filing under chapter 7, you must fiji out this form if:

@ creditors have claims secured by your property, or

® you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

Creditors

name: NORTHEAST CU

Description of WEHICLE RX 350 LEXUS
property
securing debt:

Creditors
name:

Description of
property
securing debt:

Creditor's
name:

Description of
property
securing debt:

Creditor's
name:
Description of
property
securing debt:

Official Farm 108

What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
44 Surrender the property. Wi No

CJ Retain the property and redeem it. LJ Yes

(J Retain the property and enter into a
Reaffirmation Agreement.

C) Retain the property and [explain]:

 

C} Surrender the property. Ci No
C} Retain the property and redeem it. QJ Yes

() Retain the property and enter into a
Reaffirmation Agreement.

(J Retain the property and [explain]:

 

(4 Surrender the property. C) No
(i Retain the property and redeem it. Cl Yes

(J Retain the property and enter into a
Reaffirmation Agreement.

C) Retain the property and [explain]:

 

() Surrender the property. LC) No
() Retain the property and redeem it. CI} Yes

©) Retain the property and enter into 4
Reaffirmation Agreement.

QQ Retain the property and [explain]:

 

Statement of Intention for Individuals Filing Under Chapter 7 page 1
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 61 of 65

Debtor 1 SARAH A. RICHARDSON Case number (if known),

 

First Name Middle Name Last Name

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: Q) No
Oy

Description of leased es

property:

Lessors name: QO) No

Description of leased U Yes

property:

Lessors name: CU No

Description of leased Ll Yes

property:

Lessors name: No
QO) Yes

Description of leased

propery:

Lessor's name: No
OU Yes

Description of leased

property:

Lessors name: C) No
CI) Yes

Description of leased

property:

Lessor’s name: LI No
C) Yes

Description of leased
property:

cae sisn Below

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x

 

 

ature of Debtor 1 Signature of Debtor 2
Date Ld | x19 Date
MM/¥ DD F/ YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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DISTRICT OF NEW HAMPSHIRE
IN THE UNITED STATES BANKRUPTCY COURT FOR THE

IN RE:

 

SARAH A, RICHARDSON

)
)
) Case No.
)
Debior. )

Chapter 7
VERIFICATION OF MATRIX

The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.

Date: D | | KL

Debtor Signature
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document

Cavairy Port
500 Summit Lake Drive Suite 400
Valhalla, NY 10595

Ccholdings
101 Crossways Park Dr W
Woodbury, NY 11797

Concord Village Associates Hodges Development Corporation
201 Loudon Road
Concord, NH 03301

Credit Collection Services
2 Wells Ave
Newton, MA 02459

Kohls Capone
Po Box 3115
Milwaukee, Wi 53201

Mohela Dofed
633 Spirit Drive
Chesterfield, MO 63005

Midland Credit Management
P © Box 939069
San Diego, CA 92193

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Northeast Cu
100 Borthwick Ave Pob 1304
Portsmouth, NH 03801

Portfolio Recovery Associates Lic
‘120 Corporate Blvd
Norfolk, VA 23502

Sw-Gradt Sys
4120 Intetnationial: Parkway Suite 1100:
Carrollton, TX 75007

Syncb Tix
Po-Box 965015
Orlando, FL 32896

Unitil
~ P O Box 981077
Boston, MA 02298-1077

Va Medical Center
718 Smyth Road
Manchester, NH 03104
Case: 19-11403-BAH Doc #: 1 Filed: 10/08/19 Desc: Main Document Page 65 of 65

UNITED STATES BANKRUPTCY COURT FOR THE

DISTRICT OF NEW HAMPSHIRE

 

In re:

SARAH A. RICHARDSON Chapter 7

Debtor.

Nem Nee eee Nee ee”

 

DECLARATION OF PRO SE ASSISTANCE

L, SARAH A. RICHARDSON , received free legal assistance in preparing

my bankruptcy forms from the legal aid nonprofit Upsolve. Upsolve is a national legal aid nonprofit
funded by the Legal Services Corporation and leading philanthropic foundations. It provides free

Chapter 7 assistance for low-income debtors who need a fresh start but cannot afford counsel.

Upsolve is not my attorney. | am filing this case without a lawyer or "pro se." Because Upsolve

has provided its services pro bono, Upsoive is not a petition preparer under Section 110 of the
Bankruptcy Code, and Official Form 119 is not required and has not been provided.

  

Date: lO- le \9

 

ignature of Debtor 1, Filing Pro Se

Upsolve Contact Information:
TINA TRAN, MANAGING ATTORNEY

TINA@UPSOLVE.ORG
